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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


PAUL J. MANAFORT, JR.,

                           Plaintiff,

                   v.
                                               No. 1:18-cv-00011-ABJ
U.S. DEPARTMENT OF JUSTICE, ROD J.
ROSENSTEIN, and ROBERT S. MUELLER III,

                          Defendants.




       DEFENDANTS’ SUPPLEMENTAL MEMORANDUM REGARDING
                 PLAINTIFF’S LACK OF STANDING
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       In a Minute Order dated April 5, 2018, this Court permitted the parties to file supplemental

memoranda “addressing the question of whether the Court has subject matter jurisdiction over

Count I now that plaintiff has withdrawn any claim for declaratory or injunctive relief relating to

the pending indictments, and he seeks prospective relief, including an order ‘enjoining the Special

Counsel’s future ultra vires exercise of authority under’ the Appointment Order.” The United

States respectfully submits this response, explaining that Manafort indeed lacks standing to pursue

prospective relief against speculative future prosecutions.

       Dismissal of Manafort’s Complaint is therefore warranted not only because he lacks

standing, but also because his claim is precluded under the abstention doctrine recognized in

Younger v. Harris, 401 U.S. 37 (1971), and Deaver v. Seymour, 822 F.2d 66 (D.C. Cir. 1987). The

Court has discretion to dismiss Manafort’s Complaint on either or both grounds. See Ruhrgas AG

v. Marathon Oil Co., 526 U.S. 574, 585 (1999) (“[D]istrict courts do not overstep Article III limits

when they . . . abstain under Younger v. Harris without deciding whether the parties present a case

or controversy.” (citation omitted)). Given Manafort’s shifting characterizations of what exactly

he is seeking through this lawsuit, the Government respectfully submits that dismissal on both

standing and abstention grounds would provide the clearest resolution of this matter. Nonetheless,

as discussed at the recent hearing, Manafort’s latest characterization of his claim fails for the

independent reason that he lacks standing to seek prospective relief against speculative future

actions. See, e.g., Mot. to Dismiss Hr’g Tr. at 40-42 [hereafter “MTD Tr.”].

       1. Under Article III, plaintiffs bear the burden of establishing subject-matter jurisdiction.

See Lujan v. Defenders of Wildlife, 504 U.S. 555, 561 (1992). Indeed, it is “presume[d] that federal

courts lack jurisdiction unless the contrary appears affirmatively from the record.”

DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 342 n.3 (2006). And in determining whether




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standing exists, “the Court looks to the face of the complaint[.]” Prisology v. Fed. Bureau of

Prisons, 74 F. Supp. 3d 88, 93 (D.D.C. 2014), aff’d, 852 F.3d 1114 (D.C. Cir. 2017).

       Here, as previously discussed in the Government’s reply brief, see ECF No. 28 at 5-7,

Manafort’s Complaint contains no allegations whatsoever regarding potential future prosecutions.

Nor does it allege any injuries purportedly stemming from ongoing investigations unconnected to

the two existing prosecutions. Cf. Compl. ¶ 58 (describing only past injuries purportedly caused

by the Appointment Order). Thus, the operative pleading plainly does not establish an “actual or

imminent” injury associated with hypothetical future proceedings. Lujan, 504 U.S. at 560; see

also Arpaio v. Obama, 797 F.3d 11, 21 (D.C. Cir. 2015) (a claim based on “predicted future injury

. . . bears a more rigorous burden to establish standing,” and a court “may reject as overly

speculative those links which are predictions of future events”).

       2. Even apart from this pleading deficiency, Manafort cannot plausibly establish standing

for several additional reasons. At the motion-to-dismiss hearing, Manafort relied on the D.C.

Circuit’s decision in Juluke v. Hodel, 811 F.2d 1553 (D.C. Cir. 1987). See MTD Tr. at 8-9, 14. But

the type of standing recognized in Juluke and other pre-enforcement cases is inapplicable here.

       The typical pre-enforcement case involves a plaintiff who wishes to engage in private

conduct, but is “chilled” from doing so based on a governmental proscription of that conduct and

a sufficiently significant risk of prosecution for violating that proscription. See, e.g., Susan B.

Anthony List v. Driehaus, 134 S. Ct. 2334, 2342-43 (2014); Juluke, 811 F.2d at 1555-56. Here,

Manafort does not seek to challenge any regulation of his primary conduct; he merely seeks to

challenge the Special Counsel’s authority to prosecute him. See MTD Tr. at 14. Standing is much

harder to establish when the challenged provision only authorizes the government to act but does

not actually regulate conduct. See Clapper v. Amnesty Int’l USA, 568 U.S. 398, 412 (2013)




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(“[B]ecause [the statute] at most authorizes—but does not mandate or direct—the surveillance that

respondents fear, respondents’ allegations are necessarily conjectural.”); see also United

Presbyterian Church v. Reagan, 738 F.2d 1375, 1378-80 (D.C. Cir. 1984) (Scalia, J.) (explaining

why a “chill” does not provide standing when the challenged policy “issues no commands or

prohibitions . . . and sets forth no standards governing [private] conduct”).

       Moreover, Manafort does not argue that he is actually “chilled” from engaging in any future

conduct; he is instead complaining about the possibility of additional prosecutions based on past

conduct. Thus, he cannot show that he was “effectively coerced” into foregoing conduct that he

believes was lawful—an important part of how pre-enforcement plaintiffs typically establish

standing. See MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 129 (2007).

       For Manafort to establish standing, then, he must “satisfy the requirement that threatened

injury . . . be certainly impending.” Clapper, 568 U.S. at 410. But he cannot do so based on

speculative, unsupported assertions about potential future prosecutions. See id. at 410-14. Nor

can Manafort avoid the “certainly impending” requirement simply based on actions he (or others)

have taken in response to the speculative potential of future prosecutions. Id. at 415-18 & n.7.

       Indeed, even in pre-enforcement cases the plaintiff must establish a “genuine threat of

enforcement[.]” MedImmune, Inc., 549 U.S. at 129; see Susan B. Anthony List, 134 S. Ct. at 2345-

46. Here, even were the Court to go beyond the allegations of the Complaint and examine the

assertions of Manafort’s counsel, Manafort still has not established any such genuine threat. The

mere fact of past prosecutions does not itself prove “a specific live grievance” as to potential future

prosecutions. Golden v. Zwickler, 394 U.S. 103, 109-10 (1969). And Manafort offers no concrete

information whatsoever regarding the potential future prosecutions about which he is concerned—

only the bare assertion that “[t]here’s no doubt that Mr. Manafort continues to be harmed by an




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ongoing investigation by the special counsel.” MTD Tr. at 11; see also id. at 15, 19. Absent

additional factual detail, this Court cannot ensure that Manafort’s claim presents a live dispute.

        Manafort’s obligation here, moreover, is not only to establish an injury-in-fact, but an

injury that would be “redressed by a favorable decision.” Lujan, 504 U.S. at 561. At the motion-

to-dismiss hearing, Manafort clarified that he is not challenging the Appointment Order as a whole,

only any future investigations or prosecutions arising out of ¶ (b)(ii) of the Order. See MTD Tr.

at 9-12, 16-17, 30. To establish standing, then, Manafort must demonstrate that the purported

future actions he is concerned about are authorized solely by ¶ (b)(ii) of the Order—otherwise

invalidation of that provision would not redress any purported injuries flowing from those

proceedings. But here, Manafort’s bare assertions do not establish a genuine threat of any future

prosecutions, let alone future prosecutions authorized solely under ¶ (b)(ii) of the Appointment

Order. Thus, Manafort fails at every step to bring his claim within the type of standing recognized

in pre-enforcement cases, as well as to satisfy other bedrock Article III requirements.

        3. Manafort also suggested at the hearing that, even if he is seeking a prospective remedy,

a sufficiently concrete dispute exists now because “he has been charged for conduct that is outside

of the scope of th[e] special counsel reg[ulation]s,” and that is a “real harm” that exists “right now.”

MTD Tr. at 15-16. The two existing prosecutions, however, are the very ones for which Manafort

has expressly disclaimed any remedy. See MTD Tr. at 8. And “a plaintiff must demonstrate

standing separately for each form of relief sought.” Friends of the Earth, Inc. v. Laidlaw Envtl.

Servs. (TOC), Inc., 528 U.S. 167, 185 (2000). Thus, to seek prospective relief against additional

future prosecutions, Manafort must establish an injury-in-fact associated with those potential

future prosecutions—not the pre-existing ones for which he is no longer seeking any relief. And

as noted above, the mere fact of prior prosecutions does not establish standing to seek prospective




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relief against future ones. See O’Shea v. Littleton, 414 U.S. 488, 495 (1974) (“Past exposure to

illegal conduct does not in itself show a present case or controversy regarding injunctive relief[.]”);

see also City of Los Angeles v. Lyons, 461 U.S. 95, 105-08 (1983).

       Manafort’s broad theory of standing—in which past prosecutions authorize plaintiffs to

seek civil relief overseeing potential future investigations and prosecutions—only further

underscores the stark separation-of-powers concerns implicated by his claim. The doctrine of

standing is “founded in concern about the proper—and properly limited—role of the courts in a

democratic society.”     Warth v. Seldin, 422 U.S. 490, 498 (1975). Accordingly, “standing

requirements are especially rigorous when reaching the merits of a case would raise questions

about the proper scope of judicial authority.” Chenoweth v. Clinton, 181 F.3d 112, 115 (D.C. Cir.

1999). Here, the motion-to-dismiss hearing confirmed the breadth of Manafort’s requested

prospective relief. See MTD Tr. at 18 (Manafort is seeking an order to have “in hand to go and

stop the special counsel when they issue a grand jury subpoena in an ongoing investigation”).

Particularly given that law-enforcement matters are traditionally regarded as “a ‘special province’

of the Executive,” United States v. Armstrong, 517 U.S. 456, 464 (1996), Manafort’s broad theories

of standing are especially inappropriate for the type of intrusive claim he is asserting here.

       4. Accordingly, Manafort lacks standing to pursue his requested relief. His claim is also

precluded under the Younger and Deaver abstention doctrine, regardless of how he characterizes

the particular relief he is seeking. See ECF No. 16-1 at 11-19; ECF No. 28 at 2-14. Thus, given

Manafort’s frequently changing descriptions of his requested relief—and to prevent Manafort from

trying to evade a standing-based dismissal by further re-characterizing his claims—the

Government respectfully submits that dismissal of the Complaint both for lack of standing and on

abstention grounds would provide the clearest and most comprehensive resolution of this matter.




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Dated: April 11, 2018                       Respectfully submitted,

                                            JOHN R. TYLER
                                            Assistant Director

                                            /s/ Daniel Schwei
                                            DANIEL SCHWEI (N.Y. Bar)
                                            Senior Trial Counsel
                                            ANJALI MOTGI (TX Bar No. 24092864)
                                            Trial Attorney
                                            United States Department of Justice
                                            20 Massachusetts Avenue, NW
                                            Washington, DC 20530
                                            Tel: (202) 305-8693
                                            Fax: (202) 616-8470
                                            Daniel.S.Schwei@usdoj.gov




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